                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

  JAMES R. PUTMAN, JR.,                        )
                                               )        Case No. 7:17-cv-168
          Plaintiff,                           )
                                               )
  v.                                           )
                                               )
  SAVAGE ARMS, INC.,                           )        By:   Michael F. Urbanski
                                               )        Chief United States District Judge
          Defendant.                           )

                                  MEMORANDUM OPINION

          This matter comes before the court on Defendant Savage Arms, Inc.'s ("Savage's")

  Motion to Preclude Plaintiffs Expert Dr. Druschitz. ECF No. 64. Savage filed its motion on

  January 8, 2019. Plaintiff James R. Putman, Jr. ("Putman") responded on January 22. ECF

  No. 75. Savage replied on January 28. ECF No. 83. The court heard argument on February

   1. ECF No. 89. For the reasons stated below, the court DENIES the motion.

                                                   I.

          Federal Rule of Evidence 703 permits expert witnesses to base opinions on facts or

  data "that the expert has been made aware of or personally observed," as well as facts an

  expert "in the particular field would reasonably rely on." The trial judge serves as the

   "gatekeeper" of expert evidence by determining its admissibility and assessing the

  qualifications of the expert purporting to offer it. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142

   (1997). To establish "a standard of evidentiary reliability," an expert must testify about

   scientific knowledge. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993). To

   ensure relevancy, the expert's evidence or testimony must "'assist the trier of fact to




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   understand the evidence or to determine a fact in issue."' ld. at 591 (quoting Fed. R. Evid.

   702). When faced with potential expert testimony, the trial judge must make a "preliminary

   assessment of whether the reasoning or methodology underlying the testimony is

   scientifically valid and of whether that reasoning or methodology properly can be applied to

   the facts in issue." Id. at 592-93. In particular, the Fourth Circuit Court of Appeals has

   "admonished that 'a plaintiff may not prevail in a products liability case by relying on the

   opinion of an expert unsupported by any evidence such as test data or relevant literature in

   the field."' Oglesby v. Gen. Motors Corp., 190 F.3d 244, 249 (4th Cir. 1999) (quoting

  Alevromagiros v. Hechinger Co., 993 F.2d 417, 422 (4th Cir. 1993)).

                                                  II.

          Putman is calling Dr. Alan Druschitz ("Dr. Druschitz") to testify that the choice of

   steel (416R stainless steel) was improper and that this caused the 10ML-II's malfunction.

   Savage asserts three main reasons to exclude Dr. Druschitz's testimony: (1) he lacks the

   qualifications to offer these opinions; (2) he used unreliable methodology in forming these

   opinions; and (3) his opinions will not assist the trier of fact. Savage argues Dr. Druschitz is

   unqualified because he is a metallurgist with a background in casting and welding for

   component parts of automobiles but has no specific experience with firearms. Savage

   contends that the complexities of this case require experts hold qualifications specific to the

   subject matter. Savage also argues that Dr. Druschitz's methodology is unreliable based on

   several alleged defects with his work, the most serious of which is a failure to rule out other

   potential causes of the muzzleloader's malfunction. Finally, Savage argues that Dr.

   Druschitz's opinions will not assist the trier of fact because they are largely based on his own


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   subjective beliefs and contentions, relying largely on the preceding arguments to support

   this.

           Putman responds that Dr. Druschitz is qualified to offer these opinions because the

   Fourth Circuit has ruled that an expert need only have "sufficient" specialized knowledge to

   assist jurors. RG Steel Sparrows Point, LLC v. Kinder Morgan Bulk Terminals, Inc., 609

   Fed. App'x 731, 739 (4th Cir. 2015). Dr. Druschitz has a bachelor's degree and doctorate in

   metallurgical engineering, has researched solid metal embrittlement of 4140 steel (a type of

   steel used in artillery by various manufacturers, including Savage), was a research engineer at

   General Motors research laboratories for fourteen years, and later became the Director of

  Materials Research and Development at a car parts manufacturer. ECF No. 68-9, at 2. This

   experience required he perform failure analysis and work with alloys and heat treatments for

   metal production. Id. He referenced research related to the specific proprietary alloy at issue

   here, as well as Savage's confidential tests of 10ML-II guns. Id. at 48-49. This is sufficient to

   allow Dr. Druschitz to assist the trier of fact. Putman next argues that the objections to Dr.

   Druschitz's methodology are based on Savage's disagreement with his priorities in writing

   his report. Putman responds to Savage's critique that Dr. Druschitz failed to test other

   potential causes by listing several factors he tested other than the type of steel used in the

  muzzleloader. Putman flnally asserts that Savage's complaints go to weight, rather than

   admissibility.

                                                  III.

           As Putman points out in his brief, Savage's argument to exclude Dr. Druschitz bears

   a marked resemblance to its argument in Palatka v. Savage Arms, Inc., 535 Fed. App'x 448


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   (6th Cir. 2013) to exclude Dr. Clark Radcliffe. Dr. Radcliffe was plaintiffs causation expert

   and a professor of mechanical engineering at Michigan State University. Id. at 454. The

   district court agreed with Savage and excluded the expert, but the Sixth Circuit Court of

  Appeals reversed. Id. at 453. The district court "was critical of Dr. Radcliffe's opinion in

   light of his admission that he is not a firearms expert and has not consulted in the design or

  manufacture of a flrearm," but the Sixth Circuit found that his skill, education, and training

  in mechanical engineering "render[ed] him competent to offer opinions on a variety of

   mechanical topics, and [the court does not] require Dr. Radcliffe to have a specialized

   knowledge of flrearms to offer opinions here." Id. at *455. The district court also pointed to

   several perceived errors in Dr. Radcliffe's methodology, including a lack of testing of

   proposed alternatives. Id. The Sixth Circuit reviewed these objections and found they went

   to weight, rather than admissibility. Id.

          Similarly, Savage argues here that Dr. Druschitz does not have specialized expertise in

   flrearms. Dr. Druschitz is a qualifled metallurgist with advanced degrees in metallurgical

   engineering and had done specialized research for the purposes of testifying in this matter.

   He has already been qualifled as an expert in metallurgical engineering in federal court. ECF

   No. 78-1, at 3. Savage's objections to his lack of speciflc experience may be considered by

   the trier of fact but do not merit exclusion. Similarly, Savage's objections to Dr. Druschitz's

   methodology go to weight, rather than admissibility. While a failure to consider other

   potential causes of a plaintiffs injury might in some circumstances justify exclusion, the

   Fourth Circuit has ruled that an expert's opinion should not be barred simply because the

   expert failed to rule out every possible alternative cause. Cooper v. Smith & Nephew, Inc.,


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   259 F.3d 194,202 (4th Cir. 2001). Only if the expert utterly fails to consider alternative

   causes or fails to offer a reason why the proffered alternative cause was not the sole cause

   should the expert be excluded. Id. The problems Savage lists in its brief regarding Dr.

   Druschitz's methodology may be pursued during cross examination. They are insufficient to

   render Dr. Druschitz's testimony unfit under Rule 702.

                                                 VI.

          For the reasons stated above, the court DENIES Savage's Motion to Preclude

   Plaintiffs Expert Dr. Druschitz. ECF No. 64.

          An appropriate Order will be entered.

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                                                       Michael F. U r nski
                                                       Chief Unit States District Judge




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